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Customer INV # Date Due Date Total

1}Michael Centeno INV-4293] 1/25/2018} 2/4/2018] 6,363.00

2}Guenter Schumacher INV-4287] 1/25/2018] 2/4/2018 750.00

3}Dennis Lewis INV-4286] 1/25/2018] 2/4/2018 500.00

4|THIEU HUY HOANG INV-4284] 1/25/2018} 2/4/2018] 1.300.00

5}]RYAN WHITE INV-4279] 1/25/2018} 2/4/2018] 1.500.00

6}Romeo Vinas INV-4278] 1/25/2018] 2/4/2018 375.00

7}Andrew Valjack INV-4274] 1/25/2018] 2/4/2018 350.00

8}Duey F. INV-4273] 1/25/2018] 2/4/2018 500.00

9|COLLEEN EOANNOU INV-4272] 1/25/2018] 2/4/2018] 2,000.00
10{Maurice James Toal INV-4270] 1/25/2018} 2/4/2018] 1,500.00
11/VUI HOW LEE INV-4265] 1/25/2018] 2/4/2018 350.00
12}|Milagros A. Dysico INV-4264] 1/25/2018] 2/4/2018 297.00
13}Jeffrey Holley INV-4263] 1/25/2018] 2/4/2018 470.00
14]Russ Lujan INV-4262] 1/25/2018] 2/4/2018 750.00
15]Sai Pasham INV-4335] 1/26/2018] 2/5/2018 300.00
16}Suresh Vobbilisetty INV-4332] 1/26/2018} 2/5/2018} 1.000.00
17}Noor Gill INV-4318] 1/26/2018] 2/5/2018 500.00
18}Sayeed Hassan INV-4317} 1/26/2018} 2/5/2018] = 1,017.00
19}Richard Jones INV-4311} 1/26/2018} 2/5/2018] 1,000.00
20}Douglas Cornish INV-4308] 1/26/2018] 2/5/2018 300.00
21}Aran J Persaud INV-4307] 1/26/2018} 2/5/2018] 1,500.00
22|Lizzie Attwood INV-4306] 1/26/2018] 2/5/2018 300.00
23] ANTONINO dONNABELLA INV-4364] 1/27/2018} 2/6/2018 990.00
24] Jamileth P Roberts INV-4362] 1/27/2018] 2/6/2018 300.00
25}Allen E Roberts INV-4361} 1/27/2018] 2/6/2018 300.00
26{Maria Merino INV-4360] 1/27/2018] 2/6/2018 750.00
27}kym revill INV-4349] 1/27/2018] 2/6/2018 300.00
28]Tim Bakhishev INV-4348] 1/27/2018} 2/6/2018} 5,000.00
291Md Rashidul Hasan INV-4405] 1/28/2018] 2/7/2018] 3,100.00
30]desmond INV-4404] 1/28/2018} 2/7/2018 750.00
31}Saiyad INV-4401] 1/28/2018] 2/7/2018 525.00
32}Cynthia Michele Lara INV-4400}] 1/28/2018} 2/7/2018 300.00
33]Tibor Okros INV-4399] 1/28/2018] 2/7/2018 500.00
34}Kelly Clark INV-4393] 1/28/2018} 2/7/2018] 8.512.50
351/Gevork INV-4392] 1/28/2018} 2/7/2018 350.00
36} futsum G woldemariam INV-4390] 1/28/2018} 2/7/2018] 10,400.00
37/Elizabeth Bonet INV-4389] 1/28/2018] 2/7/2018 500.00
38]/Emma Mae INV-4383] 1/28/2018} 2/7/2018 750.00
39]Omar Y K Alshaikhali INV-4382] 1/28/2018] 2/7/2018 350.00
40}mohamed abdulgany INV-4380} 1/28/2018} 2/7/2018 840.00

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41}Douglas Cornish INV-4379} 1/28/2018} 2/7/2018 420.00
42}Brenda SK Li INV-4435} 1/29/2018] 2/8/2018 500.00
43|Dennis Worthingto INV-4433} 1/29/2018} 2/8/2018 300.00
44} Allyson Bell INV-4431} 1/29/2018} 2/8/2018} 1,050.00
45}Tibor Okros INV-4427} 1/29/2018] 2/8/2018] 9,150.50
46}Duane L Escalante INV-4425} 1/29/2018] 2/8/2018 345.00
47}Valerie Ploumpis INV-4423} 1/29/2018} 2/8/2018] 15,000.00
48}Daryk Chang INV-4422}] 1/29/2018} 2/8/2018} 1,200.00
49|Candido Barroso INV-4421} 1/29/2018} 2/8/2018] 1,000.00
50}Baron August INV-4420} 1/29/2018] 2/8/2018] 9,000.00
51}Ruby Pacheco INV-4415} 1/29/2018] 2/8/2018} = 1,500.00
52}Leonard Bloch INV-4414} 1/29/2018] 2/8/2018 600.00
53}David Grey INV-4412] 1/29/2018} 2/8/2018} 3,000.00
54}Sugunan Subramaniyan INV-4407] 1/29/2018} 2/8/2018} = 1,500.00
55}WESTRAY BATTLE INV-4483]} 1/30/2018} 2/9/2018} 1,500.00
56}Marc B Oben INV-4478} 1/30/2018} 2/9/2018} 1,000.00
57}Elizabeth Benie Eko INV-4474] 1/30/2018} 2/9/2018] 1,500.00
58]}WILSON EKO NDIVE INV-4473}] 1/30/2018} 2/9/2018} 1,500.00
59}mike bioumla INV-4472}] 1/30/2018} 2/9/2018] 1,500.00
60}Blanchard Rob INV-4470} 1/30/2018} 2/9/2018 525.00
61}Pushkar R. Pandey INV-4458} 1/30/2018] 2/9/2018] 3,000.00
62}Albert L. Pacheco INV-4457} 1/30/2018} 2/9/2018} 1,500.00
63}Lawrence K Goodman INV-4452] 1/30/2018} 2/9/2018 275.00
64} Andrew Peterson INV-4444] 1/30/2018] 2/9/2018 784.00
65}Sivab Prolu INV-4501} 1/31/2018] 2/10/2018 750.00
66} Victor R Rosario INV-4497} 1/31/2018} 2/10/2018} 2,000.00

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